             Case 2:21-cv-00811-TSZ Document 18-1 Filed 11/19/21 Page 1 of 2




 1                                                           THE HONORABLE THOMAS S. ZILLY

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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
 9    BUNGIE, INC., A DELAWARE                              No. 2:21-cv-811-TSZ
      CORPORATION,
10                                                          ORDER OF DEFAULT
                           Plaintiff,
11                                                          [PROPOSED]
            v.
12
      AIMJUNKIES.COM, A BUSINESS OF
13    UNKNOWN CLASSIFICATION; PHOENIX
      DIGITAL GROUP LLC, AN ARIZONA
14    LIMITED LIABILITY COMPANY; JEFFREY
      CONWAY, AN INDIVIDUAL; DAVID
15    SCHAEFER, AN INDIVIDUAL; JORDAN
      GREEN, AN INDIVIDUAL; AND JAMES
16    MAY, AN INDIVIDUAL,

17                         Defendants.

18

19          The Clerk of the Court, having reviewed plaintiff Bungie, Inc.’s Motion for Entry of

20   Default and the supporting papers on file herein, finds as follows:

21          (1)     Defendants Phoenix Digital Group LLC, Jeffrey Conway, David Schaefer, Jordan

22   Green, and James May (“Defendants”) were properly served with a copy of plaintiff’s complaint

23   and a summons;

24          (2)     Defendants have not appeared in this matter; and

25          (3)     Defendants have neither answered nor otherwise responded to plaintiff’s complaint

26   within the time permitted by the Federal Rules of Civil Procedure.

     ORDER OF DEFAULT [PROPOSED]                                                  Perkins Coie LLP
                                                                           1201 Third Avenue, Suite 4900
     (No. 2:21-cv-811-TSZ) – 1                                             Seattle, Washington 98101-3099
                                                                                 Phone: 206.359.8000
                                                                                  Fax: 206.359.9000
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 1          Now, therefore, it is hereby

 2          ORDERED that default be, and the same hereby is, entered against defendants Phoenix

 3   Digital Group, LLC, Jeffrey Conway, David Schaefer, Jordan Green, and James May.

 4

 5          DATED this _____ day of ____________, 2021.

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 7                                                Clerk, United States District Court for the
 8                                                Western District of Washington at Seattle

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     Presented by:
10

11
     s/ William C. Rava
12   William C. Rava (SBN WA 29948
     Jacob P. Dini (SBN WA 54115)
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17   Attorneys for Plaintiff Bungie, Inc.
18

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26
     ORDER OF DEFAULT [PROPOSED]                                         Perkins Coie LLP
                                                                  1201 Third Avenue, Suite 4900
     (No. 2:21-cv-811-TSZ) –2                                     Seattle, Washington 98101-3099
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